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                         EXHIBIT A
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  9
      Attorneys for Plaintiff and the Class
 10
 11                             UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
 12                                  WESTERN DIVISION
 13
      Tracy Eggleston, individually and on
 14                                                            Case No. 2:19-cv-10071-VAP-RAO
      behalf of all others similarly situated,
 15
                                        Plaintiff,                DECLARATION OF TAYLOR T.
 16                                                               SMITH IN SUPPORT OF
 17   v.                                                          PLAINTIFF’S MOTION FOR
                                                                  SECOND EXTENSION OF TIME
 18                                                               TO EFFECTUATE SERVICE OF
      Direct Protect Security and
 19   Surveillance, Inc., a California                            PROCESS
 20   corporation,
                                                                  Date: May 18, 2020
 21                                      Defendant.               Time: 2:00 p.m.
                                                                  Judge: Hon. Virginia A. Phillips
 22                                                               Courtroom: 8A
 23                                                               Complaint Filed: November 25, 2019
 24
 25   I, Taylor T. Smith, declare as follows:
 26           1.      I am an associate attorney with the law firm Woodrow & Peluso, LLC
 27   and an attorney of record for Plaintiff Tracy Eggleston (“Plaintiff” or “Eggleston”).
 28
           Declaration of Taylor T. Smith ISO Motion for Second Extension of Time to Effectuate Service of Process
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  1   I am over the age of 18 and, if necessary, can competently testify if required to do
  2   so.
  3            2.      On November 25, 2019, Plaintiff filed the instant action alleging wide-
  4   scale violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
  5   (“TCPA” or “Act”). (Dkt. 1.)
  6            3.      On December 2, 2019, counsel sent the Complaint, Summons, and
  7   initiating documents to a process server in the State of California for service on
  8   Defendant Direct Protect Security & Surveillance, Inc.’s (“Defendant” or “Direct
  9   Protect”).
 10            4.      On December 5, 2019, Plaintiff, via process server, attempted to serve
 11   Direct Protect’s registered agent, Matthew Leibelt, at his registered address, 216 E.
 12   18th Street, Costa Mesa, California 92627. During the attempt, the process server
 13   spoke with an individual at the residence (via a Ring Doorbell System) who stated
 14   that the registered agent was not home at the moment but that he could try back
 15   tomorrow.
 16            5.      The server attempted service at the 216 E. 18th Street address on four
 17   other occasions—including December 7, 2019, December 9, 2019, December 12,
 18   2019, and December 14, 2019. On the December 12th attempt, the server witnessed
 19   that the lights were on, however, no one answered the door.
 20            6.      Based on Direct Protect’s avoidance of service, Plaintiff filed a Motion
 21   for Alternative Service on January 20, 2020. (Dkt. 16.) Plaintiff sought to serve
 22   Direct Protect via the California Secretary of State’s Office.
 23            7.      On February 21, 2020, the Court issued an Order denying Plaintiff’s
 24   Motion for Alternative Service. (Dkt. 18.) In its Order, the Court held that Plaintiff
 25   had failed to demonstrate reasonable diligence in her initial service attempts. (Id.)
 26            8.      Thereafter, on February 24, 2020, Plaintiff filed a Motion for
 27   Extension of Time to Effectuate Service of Process. (Dkt. 19.)
 28
            Declaration of Taylor T. Smith ISO Motion for Second Extension of Time to Effectuate Service of Process
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  1          9.      On March 16, 2020, the Court granted Plaintiff an additional thirty
  2   (30) days, until April 15, 2020, to effectuate service. (Dkt. 20.)
  3          10.     On March 2, 2020, Plaintiff, via process server, attempted to serve one
  4   of Direct Protect directors, James Melad, at his last known address, 222 20th Street,
  5   Huntington Beach, California 92648. During the first attempt at service, the server
  6   was notified that Mr. Melad had not resided at this address for about three years.
  7          11.     Thereafter, counsel located Direct Protect’s last known business
  8   address at 3151 Airway Ave. #F205, Costa Mesa, California 92626.
  9          12.     Plaintiff attempted to serve Direct Protect at its Costa Mesa address on
 10   five occasions: March 16, 2020, March 18, 2020, March 20, 2020, March 23, 2020,
 11   and March 25, 2020.
 12          13.     On each attempt, the server observed that no individuals were present
 13   at the address and that it did not appear that anyone regularly utilized the office.
 14          14.     Shortly thereafter, counsel for Plaintiff contacted the Orange County
 15   Sheriff’s Department (“OCSD”) to arrange for service of process upon Direct
 16   Protect’s registered agent.
 17          15.     OCSD informed counsel that the department could accept the request
 18   and payment for service, however, the department was not attempting any civil
 19   service attempts during the ongoing COVID19 pandemic.
 20          16.     On March 30, 2020, Plaintiff sent the OCSD a request to serve Direct
 21   Protect at its registered agent’s address. Plaintiff submitted the Complaint,
 22   Summons, other initiating documents, and made a payment to the OCSD.
 23          17.     OCSD further informed counsel that the department would retain
 24   Plaintiff’s documents for service until the pandemic restrictions were lifted.
 25   However, OCSD could not provide any time frame for when it would resume
 26   service attempts.
 27          18.     On April 15, 2020, counsel for Plaintiff spoke with the OCSD. The
 28
          Declaration of Taylor T. Smith ISO Motion for Second Extension of Time to Effectuate Service of Process
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  1   OCSD again stated that it was uncertain of the date that civil service would resume.
  2         I declare under penalty of perjury under the laws of the United States of
  3   America that the foregoing is true and correct. Executed on April 15, 2020, in
  4   Denver, Colorado.
  5
                                                       By: /s/ Taylor T. Smith
  6                                                          Taylor T. Smith
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